                Case 2:24-cv-00417-JRG Document 4 Filed 06/12/24 Page 1 of 1 PageID #: 23
                                                 CERTIFICATE OF SERVICE

IN THE UNITED STATES DISTRICT COURT                                                     Case #: 2:24-cv-00417
EASTERN DISTRICT OF TEXAS


                                                       C47 Technologies LLC
                                                                                                                    Plaintiff
                                                                  vs.

                                                TCL Technology Group Corp., et al
                                                                                                                   Defendant

The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all the times herein mentioned was
a citizen of the United States, over the age of 18, not a party to nor interested in the above entitled action, is competent to be
witness therein, and that I served copies of the:

                     Summons & Complaint for Patent Infringement (Received 6/10/2024 at 12:30 PM)


               PARTY SERVED:         TCL COMMUNICATION TECHNOLOGY HOLDINGS LIMITED C/O TCT MOBILE (US)
                                     INC., C/O CORPORATION SERVICE COMPANY
             PERSON SERVED:          LYNANNE GARES, LITIGATION MANAGEMENT SERVICE LEADER
        METHOD OF SERVICE:           Corporate - By leaving copies with the person identified above, apparently in charge at the
                                     office or usual place of business. I informed him/her of the general nature of the papers.
  DATE & TIME OF DELIVERY:           6/11/2024 at 11:27 AM
 ADDRESS, CITY AND STATE:            251 LITTLE FALLS DR, WILMINGTON, DE 19808
                                     Race: White       Sex: Female         Age: 52
                                     Height: 5'6''     Weight: 150         Hair: Brown        Glasses: No



                                                                        I declare under penalties of perjury that the information contained
Malone Process Service LLC                                              herein is true and correct. Executed on 6/12/2024.
PO Box 720040
Dallas, TX 75372
(877) 997-3783




                                                                                               Ramona Talvacchio




CLIENT: Malone Process Service LLC                                                                                              Job #: 577030
FILE #:
